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Diamond Comics Distributors, Inc                                                                                            Case No. 25-10308
Statement of Operations                                                                                                               February



                                                                                                                            Consolidated
                                             Diamond Comics           Alliance Games           Collective Grading          Diamond Comic
                                                                                                    Authority              Distributors, Inc



Revenue
  Sales                                  $          10,781,362    $          10,011,512    $               207,619     $           21,000,493
  Freight Income                                       481,124                  108,254                         -                     589,378
Total Revenue                                       11,262,486               10,119,766                    207,619                 21,589,871



Cost of Sales
  Inventory (Buy/Sell)                               9,195,279               13,526,055                         -                  22,721,334
  Inventory (Consignment)                            1,174,627                  758,151                         -                   1,932,778
  Freight Expense                                      750,814                  391,061                         -                   1,141,874
Total Cost Of Sales                                 11,120,719               14,675,267                         -                  25,795,986

Gross Profit (Loss)                                   141,767                (4,555,501)                   207,619                  (4,206,115)

Operating Expense
  Contract Labor                                       652,381                   85,507                         -                      737,889
  Equipment Acquisition                                     -                        -                          -                           -
  Operating Supplies                                     3,204                   87,592                         -                       90,796
  Other Operating Expenses                                  -                        -                          -                           -
  Rent                                                 196,022                  102,492                         -                      298,514
  Repairs And Maintenance                                3,511                   10,115                         -                       13,626
  Payroll                                              452,487                  447,263                         -                      899,750
  Taxes And Licenses                                        -                        -                          -                           -
  Utilities                                             16,133                   22,964                         -                       39,097
Total Operating Expenses                             1,323,738                  755,933                         -                    2,079,672

Selling, General, and Administrative
  Advertising                                       159,259.31                 6,514.10                         -                  165,773.41
  Computer Expense                                  142,816.55                 5,060.00                         -                  147,876.55
  Insurance                                         186,866.41               131,049.44                  13,293.14                 331,208.99
  Rent                                               58,495.84                       -                   79,692.34                 138,188.18
  Salaries & Payroll Taxes                          883,832.02               323,880.14                 137,379.14               1,345,091.30
  Taxes And Licenses                                 61,599.97                   202.55                         -                   61,802.52
  Utilities                                                 -                        -                          -                          -
  Other G&A                                         122,526.91                 8,307.18                  35,902.49                 166,736.58
Total Selling, General, and Administrative           1,615,397                  475,013                    266,267                  2,356,678

Other Expenses
  Bank Fees                                             60,007                  111,036                         980                    172,023
  Interest                                              96,796                       -                          -                       96,796
  Professional Fees                                  1,199,575                       -                          -                    1,199,575
Total Other Income / (Expense)                       1,356,379                  111,036                         980                  1,468,394

Net Income (Loss)                                   (4,153,747)              (5,897,483)                    (59,628)               (10,110,858)
